Case 8:12-cv-01493-JVS-RNB Document1 Filed.09/07/12 Page 1of40 Page ID #:9

(]

SEYFARTH SHAW LLP

Jon D, Meer (SBN 144389)
jmeer@seyfarth.com _
Casey J.T McCoy (SBN 229106)
cjtmccoy @seyfarth.com
2029 Century Park East, 35th Floor
Los Angeles, California, 90067-3021
Telephone: (310) 277-7200
Facsimile: (310) 201-5219

SEYFARTH SHAW LLP

Simon L. Yang (SBN 260286)
syang@seylarth-com a

333 South Hope Street, Suite 3900
Los Angeles, California 90071-1406
Telephone: 513) 270-9600
Facsimile: (213) 270-9601

PFT. sg

Attorneys for Defendants .
BP WEST COAST PRODUCTS LLC;
BP PRODUCTS NORTH AMERICA INC.;
DALE ERICKSON; DAN ROBINSON; and
MARYCLAIRE HAMMOND
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

SCOTT TENNEY, an individual, Case No... gyn = 1493 5VS (RNP

Plaintiff,

DEFENDANTS? NOTICE OF REMOVAL
OF CIVIL ACTION TO UNITED
STATES DISTRICT COURT PURSUANT
TO DIVERSITY OF CITIZENSHIP
JURISDICTION [28 U.S.C. $§ 1332, 1441]

Orange County Superior Court Case No, 30-
2-XX-XXXXXXX 1]

Complaint Filed: August 7, 2012

VS..

BP WEST COAST PRODUCTS, LLC, a
Delaware Limited Liability Company,
BP PRODUCTS NORTH AMERICA,
INC. a Maryland corporation; DALE ~
ERICKSON, an individual; DAN
ROBINSON; an individual,
MARYCLAIRE HAMMOND, an
individual; and DOES | - 50 inclusive,

Defendants.

Nae” see sat et ett ae nett eet! atte” ane nasa! mage” uae” ene Sarna tt

Notice OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

So mF ND Wn FP WW HPO

Nm NO HN HH NH HN NY HN Dw wr RR
Oo tN DN A BB WD NYO KY OD OO Bn DBD A BP WW LH KY C&C

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 2of40 Page ID #:10

TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
OF CALIFORNIA AND TO PLAINTIFF SCOTT TENNEY AND HIS
ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Defendants BP Products North America Inc. (“BP
Products”), BP West Coast Products LLC (“BP West”), Dale Erickson (“Erickson”), Dan
Robinson (“Robinson”) and Maryclaire Hammond (“Hammond”) (collectively,
“Defendants”) hereby file this Notice of Removal pursuant to 28 U.S.C. sections 1332
and 1441(a) and (b), based on diversity of citizenship jurisdiction, in order to effectuate
the removal of the above-captioned action from the Superior Court of the State of
California, County of Orange, to the United States District Court for the Central District
of California, and states that removal is proper for the following reasons:

I. BACKGROUND

1. On August 7, 2012, an unverified Complaint (the “Complaint’”) was filed on
behalf of Plaintiff Scott Tenney (“Plaintiff”) in the Superior Court of the State of -
California, County of Orange, entitled, “SCOTT TENNEY v. BP WEST COAST
PRODUCTS, LLC; BP PRODUCTS NORTH AMERICA, INC.; DALE ERICKSON, DAN
ROBINSON; AND MARYCLAIRE HAMMOND, and DOES I through 100, inclusive,”
designated Case No. 30-2012-00589281 (the “State Court Action”).

2. The Complaint alleges twelve causes of action for: (1) “Disparate Treatment
Based on Medical Condition”; (2) “Discrimination and Failure to Prevent Discrimination
Based on Disability”; (3) “Harassment/Hostile Work Environment”; (4) “Failure to
Provide Reasonable Accommodation for Medical Condition”; (5) “Failure to Engage in
the Interactive Process”; (6) “Retaliation in Violation of Public Policy”; (7) “Failure to
Take Steps to Prevent Harassment and Discrimination in the Work Place”; (8) “Failure to
Pay Overtime Wages”; (9) Failure to Provide Accurate Wage Statements”; (10)
“Defamation”; (11) “Intentional Infliction of Emotional Distress;” and (12) “Negligent

Infliction of Emotional Distress.” True and correct copies of the: Summons; Complaint;

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo eo nN HD On BPW NO

NO NO NH NHN KH HN NN NWN NO HR RR Re Re Ee RP SEE
CON ON Oh BP WH HO KF CO OO MONA DH BW NY FY ©

Case 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12 Page 3o0f 40 Page ID #:11

Certificate of Assignment; Civil Cover Sheet; and ADR Package are collectively attached
as Exhibit “A” to the Declaration of Casey J.T. McCoy (“McCoy Decl.”), filed herewith.

3. On or about August 8, 2012, Defendants first received notice of the Orange
County State Court Action when defendant BP Products and BP West were served with
Plaintiff's Summons and Complaint, and accompanying documents. On or about August
12, 2012 Defendant Dale Erickson was served with Plaintiff's Summons and Complaint,
and accompanying documents.

4, On or about August 13, 2012, Defendants agreed to accept service on behalf
of individual defendants Dan Robinson and Maryclaire Hammond. On August 27, 2012,
Plaintiff mailed a Notice and Acknowledgement of Receipt to serve defendants Robinson
and Hammond. Counsel signed the Notice of Acknowledgment on behalf of Defendants
Robinson and Hammond on September 5, 2012. A true and correct copy of the signed
Notice and Acknowledgment of Receipt is attached as Exhibit “B” to the McCoy
Declaration.

5. As discussed in greater detail below, jurisdiction based on diversity of
citizenship is proper because Defendant BP Products is not a citizen of California.
Although Plaintiff also names BP West, Erickson, Robinson and Hammond as
defendants, they are “sham” defendants, such that for purposes of diversity of citizenship
jurisdiction, they can be disregarded.

Il. TIMELINESS OF REMOVAL

6. This Notice of Removal is timely because it is being filed within thirty (30)
days of BP Products’ and BP West’s receipt of the Summons and Complaint on August 8,
2012 and within one (1) year of the commencement of this action. 28 U.S.C. § 1446(b).
BP Products and BP West were the first Defendants served with the Summons and
Complaint, on August 8, 2012.

Ill. PROCEEDINGS IN STATE COURT
7. There have been no proceedings scheduled in the Superior Court. Exhibit

“A” attached to the Declaration of Casey J.T. McCoy (“McCoy Decl.”) constitutes all of
2

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo DH nN DB A FR WD WYP

Oo NO NY NY NY NY NY WN NY KY KH Ke — ee eet
On DN UW BP WY NO KH DTD OO DWBny DB NH FBP WW YN KH OS

Case 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12 Page 4 of 40 Page ID #:12

the pleadings that have been served on Defendants prior to the filing of this Notice of
Removal. (McCoy Decl., {2 and Ex. A.)
IV. DIVERSITY OF CITIZENSHIP JURISDICTION

8. The Complaint, and each alleged cause of action contained therein, may be |
properly removed on the basis of diversity of citizenship jurisdiction, in that itisacivil |
action between citizens of different states and the matter in controversy exceeds the sum
of $75,000, exclusive of interest and costs. 28 U.S.C. §§ 1332(a)(1), 1441(a).

A. Plaintiff Is A Citizen Of California

9. For diversity purposes, a person is a “citizen” of the state in which he or she
is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983).
A party’s residence is prima facie evidence of his domicile. State Farm Mut. Auto Ins.
Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994), Plaintiffs own allegations in the
Complaint establish that he is a California citizen. Specifically, Plaintiff alleges that
“Plaintiff ... is presently, and at all relevant times herein, was a resident in the State of |
California, County of Orange.” (Compl., § 1.)

10. Moreover, throughout Plaintiff's employment with BP Products, Plaintiff,
without exception, has listed California addresses for the purposes of his personnel file,
payroll checks, and tax withholdings demonstrating “an intent to remain” in California,
establishing Plaintiffs domicile in California. (Declaration of Sondra G. Fisher (“Fisher
Decl.”), 4 2.) Plaintiff has not informed Defendants of a change in his address or
residence. (/d., 3.) Moreover, Plaintiff remains employed by BP Products at its
facility located in Carson, California. (/d., J 4.)

11. Accordingly, Plaintiff is and, at all relevant times, was a citizen and resident
of the State of California.

B. BP Products Is Not A Citizen Of California

12. BP Products is now and, was at the time of the filing of this action, a citizen
of a State other than California within the meaning of 28 U.S.C. section 1332(c)(1).

Pursuant to 28 U.S.C. section 1332(c), “a corporation shall be deemed to be a citizen of
3

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

nh

10

0 Oo AY HO WwW FB WW WH

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 5of40 Page ID #:13

any State by which it has been incorporated and of the State where it has its principal
place of business.”

13. The United States Supreme Court in The Hertz Corp. v. Friend, 559 U.S. __,
130 S. Ct. 1181, 1192 (2010), held that a corporate entity’s “principal place of business”

for determining its citizenship is its “nerve center”:

We conclude that “principal place of business” is best read as
referring to the place where a corporation’s officers direct,
control, and coordinate the corporation’s activities. It is the
place that Courts of Appeals have called the corporation’s
‘nerve center.” And in practice it should normally be the
place where the corporation maintains its headquarters --
provided that the headquarters is the actual center of
irection, control, and coordination, i.e., the “nerve center”

eee

Id. at 1192 (emphasis added).

14. BP Products is a corporation that at all relevant times during this litigation
was organized and existing under the laws of the State of Maryland. (Declaration of
Steven C. Lee (“Lee Decl.”), 9 2.) BP Products’ headquarters are located at 150 W.
Warrenville Rd., Naperville, Illinois 60563. (/d., 43.) The majority of BP Product’s key
officers and Board of Directors work out of Naperville and Chicago Illinois, and direct,
control, and coordinate BP’s activities from Illinois. (id, 43.) Specifically, seven of the
nine members of the Board of Directors work out of Illinois. (The other two Directors
work out of Houston and the State of Washington.) (/d.) The President of BP Products
works out of Naperville, Illinois. (/d.) The Chief Financial Officer and Corporate
Treasurer work out of Chicago, Illinois. (/d.) The Vice President & General Tax Officer
and Corporate Secretary work out of Houston. (/d.) These individuals represent the
senior leadership of BP Products and are responsible for the direction, control, and
coordination of all corporate planning and strategy. (U/d.) None of them work out of
California. Ud.)

15. -As BP Products is incorporated in Maryland and its “actual center of

direction, control, and coordination” or “nerve center” is in Naperville, Illinois, it is not a

4

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo A nN DBD nA DP WY YN

NO PO HO HO PO NY HN WV NO YR eRe Bee Be RP Ee RR
Oo NO ON Be WO NO KF OO Wn DH FP WD NYO KY OC

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 6of40 Page ID #:14

citizen of the State of California. Rather, BP Products is a citizen of the State of

Maryland and the States of Illinois. The Hertz Corp., 130 8. Ct. at 1192.

C. Because BP West, Erickson, Robinson and Hammond Are Sham
Defendants, Their Citizenship Should Be Disregarded For Determining
iversity OS

16. Defendants BP West, Erickson, Robinson and Hammond must be
disregarded for purposes of diversity because they are “sham” defendants, i.e., they
cannot be found liable as a matter of law. See, e.g., Morris v. Princess Cruises, Inc., 236
F.3d 1061, 1067 (9th Cir. 2001). |
17. It is well-settled that a party cannot attempt to defeat diversity of citizenship
jurisdiction by adding “sham” defendants. See, e.g., Morris, 236 F.3d at 1067; Dodson v.
Spillada Maritime Corp., 951 F.2d 40, 42 (5th Cir. 1992); TPS Utilicom Serv., Inc. v. AT
& T Corp., 223 F. Supp. 2d 1089, 1100-1101 (C.D. Cal. 2002) (same).
18.  Joinder of a defendant is a “sham” and is fraudulent if the defendant cannot
be liable to the plaintiff on any theory alleged in the complaint. See, e.g., Ritchey v.
Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998); McCabe v. General Foods Corp.,
811 F.2d 1336, 1339 (9th Cir. 1987).
19. When determining whether a defendant is fraudulently joined, “[t]he court
may pierce the pleadings, consider the entire record, and determine the basis of joinder by
any means available.” Lewis v. Time Inc., 83 F.R.D. at 455 (‘[I]t is well settled that upon
allegations of fraudulent joinder . . . federal courts may look beyond the pleadings to
determine if the joinder .. . is a sham or fraudulent device to prevent removal.”);
McCabe, 811 F.2d at 1339 (a defendant “is entitled to present the facts showing the
joinder to be fraudulent”).

20. Ifthe facts reveal that joinder is fraudulent, the defendant may be dismissed
from the action pursuant to Rule 21 of the Federal Rules of Civil Procedure, which
provides that “[p]arties may be dropped or added by order of the court on motion of any
party ... at any stage of the action and on such terms as are just.” Gasnik v. State Farm

Ins. Co., 825 F. Supp. 245, 248-249 (E.D. Cal. 1992).
5

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

0 Oo NTN On BPW YN

BO bw bP bv mow DO RO DR i a
Oo aI DO UA BP WH NO KH ODO OBO Wy ND A HL WW NY KF CO

Case 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12 Page 7 of 40 Page ID #:15

21. Plaintiff's Complaint arises from an employment dispute with his employer,
BP Products. However, Plaintiff has also asserted claims against BP West and against
individual defendants Erickson, Robinson and Hammond for “Harassment/Hostile Work
Environment”, “Failure to Take Steps to Prevent Harassment and Discrimination in the
Workplace”, “Defamation” and “Intentional Infliction of Emotional Distress.”

22. BP West was not Plaintiff’s employer during the entire period covered by
his claims and is currently not his employer. Additionally, the individual defendants are
not liable for the claims alleged against them in the Complaint, as a matter of law,
because (1) Plaintiffs harassment claim is solely based on non-actionable personnel
decisions, (2) there is no separate cause of action for “failure to prevent” harassment and
discrimination, (3) Plaintiff's defamation claim is based solely on inactionable statements
regarding an employee’s work performance, (4) the managerial privilege precludes
individual liability for managers for tort claims arising from the course and scope of
employment, such as Plaintiff’s claims for intentional and negligent infliction of
emotional distress and (5) the Workers’ Compensation Act, Cal. Lab. Code § 3600 et seq.
(the “WCA”), provides Plaintiff's exclusive remedy for injuries arising out of and in the

course of employment and preempts separate causes of action for emotional distress.

1. BP West Cannot Be Liable to Plaintiff Because It Was
By Hie Clans. During The Entire Period Covered
23. Inthis employment litigation, Plaintiff has sued “BP Products North

America, Inc.” and “BP West Coast Products, LLC”. However, during the entire period
covered by Plaintiff's claims, his employer has always been “BP Products North America
Inc.,” not BP West Coast Products LLC. Plaintiff has erroneously sued BP West, which
is not a proper party because it is not his employer and all of Plaintiff's claims arise from
the employment relationship. As a non-employing entity, BP West cannot be liable to
Plaintiff on any theory alleged in his Complaint.

24. Plaintiff's twelve causes of action against BP West all require an

employment relationship. His first seven causes of action for claims related to
6

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

pNO NO HO KH VP NY WN WH NO RR Re Ree ee Re eS RS
CoO SN DN UN BP WO NO KY CO UO WBN HD WH BPW NY KF CO

Case 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12 Page 8 of 40 Page ID #:16

discrimination, harassment and retaliation are based on California Government Code
§ 12900 et seq., which requires an employment relationship. California Government

Code section 12940 states, in relevant part:

It is an unlawful employment practice, unless based upon a
bona fide occupational qualification, or, except where based
upon applicable security regulations established by the United
States or the State of California: (a) For an employer, because
of the race, religious creed, color, national origin, ancestry,
physical disability, mental disability, medical condition, genetic
information, marital status, sex, gender, gender identity, gender
expression, age, or sexual orientation of any person, to refuse to
hire or employ the person or to refuse to select the person for a
training program leading to employment, or to bar or to
discharge the person from employment or from a training
program leading to employment, or to discriminate against the
person in compensation or in terms, conditions, or privileges of
employment. .

Cal. Gov. Code § 12940(a) (emphasis added). The term employer is defined as:

“Employer” includes any person regularly employing five or
more persons, or any person acting as an agent of an employer,
directly or indirectly, the state or any political or civil
subdivision of the state, and cities. ..

Id.

25. Similarly, only employers can be liable for a failure to pay overtime or
provide accurate wages statements (i.e., Plaintiff’s Eighth and Ninth causes of action for
violation of Labor Code §§ 510, 1194 and 226.). The Wage Orders define the
employment relationship in actions for unpaid overtime. Martinez v. Combs, 49 Cal. 4th
35, 52 (2010) (finding that the “statutory and historical context” of §1194 shows that the

legislature intended the wage orders to define the employment relationship in actions for
unpaid overtime). The California Wage Orders define an employer as “any person ...
who directly or indirectly or through an agent or any other person, employs or exercises

control over the wages, hours or working conditions of any person.”' Jd, at 64; see

' The Wage Orders define “employ” as “(a) to exercise control over the wages, hours or
working conditions, or (b) to suffer or permit to work, or (c) to engage, thereby creating a

common law employment relationship.” Martinez, 49 Cal. 4th at 52.
7

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

pk

NO wo BH HN HW HP KH HN NO RB RR RRR eR
Co sa DA WA BP WO NO KH DTD Oo Dn DBD UH HBP WW PVP KK CO

0 ON DA UN FW Wh

Case 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12 Page 9of 40 Page ID #:17

generally Wage Order No. 1-2001, § 2(F) (codified at 8 Cal Code Regs. § 11010(2)(D))
(emphasis added).

26. Additionally, Plaintiff's common law defamation and emotional distress
claims (i.e., Tenth, Eleventh and Twelfth Causes of Action) are based purely upon
conduct relating to Plaintiffs employment and are entirely duplicative of his statutory
claims. (Compl., Ff 13-16, 67-68.) Specifically, Plaintiff alleges that Erickson
“published false, misleading and derogatory statements about Plaintiff and Plaintiff's
work performance.” (Compl., § 67 (emphasis added).) Plaintiff also alleges that
Robinson made comments “to other employees of BP.” (Compl., {68 (emphasis
added).) He alleges these acts and the alleged discrimination, harassment and retaliation,
including his employer’s alleged refusal to return him to work, caused him to suffer
emotional distress. (Compl., §f 73-84.) He then alleges BP West “authorized, condoned
and/or ratified” the conduct. (Compl., J 72.)

27. BP West does not employ any individuals, let alone Plaintiff. ? (Fisher
Decl., 9 5.) During the entire period covered by Plaintiff’s claims, he has been employed
by and compensated by BP Products, as his Form W-2s indicate. (Id.,§ 6.) BP West has
no direction or control over Plaintiff's wages, hours or working conditions. (/d., {| 7.)
Accordingly, there is no basis on which BP West could be liable to Plaintiff on any
theory alleged in his Complaint. (/d.)

2. Plaintiff’s Claims Against Erickson, Robinson And
Hammond Are Without Merit

28. Plaintiff's claims against the individual defendants Erickson, Robinson and
Hammond for “Harassment/Hostile Work Environment”, “Failure to Take Steps to

Prevent Harassment and Discrimination in the Workplace”, “Defamation” and

* As BP West does not employ any individuals (Fisher Decl., { 5), it also does not employ
Robinson, Erickson or Hammond. Therefore, it cannot be liable on a respondeat superior

theory, either. Cf Kelly v. General Tel. Co., 136 Cal. App. 3d 278, 284 (1982).
g

Novice OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo Oo HN DH WH PW YP

Oo YQ OO UA BP WH NO KH CO OO WANA DBD A BP WN YK OC

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 10 of 40 Page ID #:18

|| “Intentional Infliction of Emotional Distress” each fail because individual supervisors or

managers cannot be liable for these claims, which arise from an employment relationship.

a. Erickson, Robinson And Hammond Are “Sham”
Defendants As The Harassment Claim Against Them Is
Based Solely On Inactionable Personnel Decisions

29. Plaintiffs Third Cause of Action for “Harassment/Hostile Work
Environment” under the California Fair Employment and Housing Act (the “FEHA”),
Cal. Gov’t Code section 12965(b) the FEHA against Erickson, Robinson and Hammond
is without merit. Under the FEHA, “harassment” in the workplace can take the form of
“discriminatory intimidation, ridicule, and insult” that is “sufficiently severe or pervasive
to alter the conditions of the victim’s employment and create an abusive working
environment.” Kelly—Zurian v. Wohl Shoe Co., 22 Cal. App. 4th 397, 409 (1994) —
(quoting Harris y. Forklift Systems, Inc., 510 U.S. 17, 21 (1993). Accord Nazir v. United
Airlines, Inc., 178 Cal. App. 4th 243, 263-64 (2009). Moreover, harassing conduct takes
place “outside the scope of necessary job performance, conduct presumably engaged in —
for personal gratification, because of meanness or bigotry, or for other personal motives.”

Reno v. Baird, 18 Cal.. 4th 640, 646 (1998). “Thus, harassment focuses on situations in

which the social environment of the workplace becomes intolerable because the

harassment (whether verbal, physical, or visual) communicates an offensive message to
the harassed employee.” Roby v. McKesson Corp., 47 Cal. 4th 686, 707 (2009).

30. As explained by the California Supreme Court in Reno v. Baird, 18 Cal. 4th
640 (1998), personnel-related decisions involving performance evaluations,
compensation, or job assignments might constitute unlawful discrimination, but cannot
constitute unlawful harassment. Id. at 646. This is because personnel-related decisions
are a normal part of an employment relationship that cannot be avoided. On the other
hand, conduct that constitutes harassment is avoidable because it is not a necessary part

of the employment relationship. Jd. In the language of the Court:

Making a personnel decision is conduct of a type fundamentally
different from the type of conduct that constitutes harassment.
Harassment claims are based on a type of conduct that is

9

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

NO NO HO NH HN NHN HN NY NO KR YH Ke HK Fe FEF EO oe
oO NN DWN UH BR WH NYO KF OO OO Amn HD WN HP WW NY YK O&O

0 ON A WN BR WN

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 11o0f40 Page ID #:19

avoidable and unnecessary to job performance. No supervisory
employee needs to use slurs or derogatory drawings, to
physically interfere with freedom of movement, to engage in
unwanted sexual advances, etc., in order to carry out legitimate
objectives of personnel management.

We conclude, therefore, that the Legislature intended that
commonly necessary personnel management actions such as
hiring and firing, job or project assignments, office or work
station assignments, promotion or demotion, performance
evaluations, the provision of support, the assignment or |
nonassignment of supervisory functions, deciding who will and
who will not attend meetings, deciding who will be laid off, and
the like, do not come within the meaning or harassment. These
actions are of a type necessary to carry out the duties of
business and personnel management.

Id. at 646-47 (emphasis added). As the Court concluded, an employee may pursue a
claim for discrimination against his employer based on such conduct, but cannot pursue

a claim for harassment:

These actions [including project assignments, promotion or
demotion, performance evaluations, or compensation
decisions] may retrospectively be found discriminatory if based
on improper motives, but in that event the remedies provided by
the F are those for discrimination, not harassment.
Harassment, by contrast, consists of actions outside the scope of
job duties which are not of a type necessary to business an
personnel management. This significant distinction underlies
the differential treatment of harassment and discrimination in
the oO

Id. at 647 (quoting Janken v. GM Hughes Elecs., 46 Cal. App. 4th 55, 63-65 (1996)
(emphasis added.)

31. Plaintiff alleges that he was harassed on account of his purported medical
condition. (Compl., 413.) However, none of the conduct alleged, even if true, comes
close to actionable harassment. Plaintiff alleges only personnel-related decisions that are
part of the normal course of employment, as opposed to harassment, which is not part of
the normal course of employment.

32. Plaintiffs allegations are limited to Erickson purportedly questioning
Plaintiff and commenting about his tardiness, which he alleges is the result of a medical

condition, and then informing Plaintiff that if his tardiness does not improve his
10

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Co ON HD A BP WO YN

wo HNO HO WH ND NW WH bw wb kk pat
Oo ND DO A BW PPO § OD OO Fwy DB A HBP WW YO KF &

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 12 of 40 Page ID #:20

performance evaluation would be affected. (Compl., {§ 13, 16, 17.) Plaintiff further
alleges, on information and belief, “that harassment has come in the form of unfair
treatment due to Plaintiff's medical condition, wherein Plaintiff has received a below
standard and inaccurate performance evaluation(s), loss of bonus pay, and denial of
promotion or transfer opportunities, and demotion.” (/d., { 16.)

33. These are precisely the types of allegations that the California Supreme
Court in Reno held do not amount to actionable harassment because Plaintiff has alleged
routine personnel-related conduct, such as the decision to promote or demote and the
completion of performance evaluations.’ See Reno, 18 Cal. 4th at 646-47; see also
Hardin v. Wal-Mart Stores, Inc., 2012 WL 691707, at *18 (E.D. Cal. Mar. 2, 2012)
(“Personnel management actions commonly necessary to carry out the duties of business |
and personnel management, and thus outside the purview of harassment, include ‘hiring
and firing, job or project assignments, office or work station assignments, promotion or
demotion, performance evaluations, the provision of support, the assignment or
nonassignment of supervisory functions’ and decisions regarding meetings.”) (emphasis
added).

34. Given that Plaintiff's claims are based solely on personnel decisions,
Erickson, Robinson and Hammond cannot be liable, as a matter of law. As the California
Supreme Court held in Reno, 18 Cal. 4th at 647, only employers are liable for the

personnel management actions of their supervisors:

By the inclusion of the “agent” language the Legislature
intended only to ensure that employers will be held liable if
their supervisory employees take actions later found
discriminatory, and that employers cannot avoid the liability by
arguing that a supervisor failed to follow instructions or
deviated from the employer’s policy.

3 Even if certain acts could be considered outside the course and scope of the
employment relationship, comments about tardiness and a possible negative performance
review are not “extreme enough to amount to a change in terms or conditions of

employment.” Aguilar v. Avis Rent A Car System, Inc., 21 Cal. 4th 121, 130 (1999).
11

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

_ Case 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12 Page 13 o0f40 Page ID #:21

oOo Oa IN HD A BP WY NY

DO PO HN LP DN PP HN Dw rm OR
oOo sn DO ON BPW NYO YK CO CO Bn DB A BPW VY FF O&O

Id. Thus, the Court held that “it is ‘inconceivable’ that the Legislature simultaneously
intended to subject individual non-employers to the burdens of litigating such claims. To
so construe the [FEHA] statute would be ‘incongruous’ and ‘would upset the balance’
struck by the Legislature.” Jd. at 651 (citations omitted).

In Reno, the Court further emphasized that there is no public policy benefit

associated with holding individual supervisors or managers personally liable:

Imposing liability on individual supervisory employees would
Oo

ittle fo enhance the ability of victims of discrimination to

recover monetary damages, while it can reasonably be expected
to severely impair the exercise of supervisory judgment. The
minimal potential for benefit to an alleged victim juxtaposed
with the potentially severe adverse effects of imposing personal
liability on individual supervisory employees is an additional
reason for our conclusion that this is not result intended by the
Legislature.

Id. at 651-652 (citations omitted). The Court then cautioned that “if every personnel
manager risks losing his or her home, retirement savings, hope of children’s college
education, etc., whenever he or she made a personnel management decision, management
of industrial enterprises and other economic organizations would be seriously affected.”
Id. at 652-653.

35. The Court in Reno stressed that a theory that imposed individual liability
“would place a supervisory employee in direct conflict of interest with his or her
employer every time that supervisory employee faced a personnel decision.” Jd. at 653.
The Court explained that it “would coerce the supervisory employee not to make the
optimum lawful decision for the employer. Instead, the supervisory employee would be
pressed to make whatever decision was least likely to lead to a claim of discrimination
against the supervisory employee personally, or likely to lead only to that discrimination
claim which could most easily be defended.” Jd. The Court concluded that “the
employee would thus be placed in a position of choosing between loyalty to the
employer’s lawful interests at severe risks to his or her own interests and family, versus
abandoning the employer’s lawful interests and protecting his or her own personal

interests. The insidious pressures of such a conflict present sobering implications for the
12

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo fmO DT BDO WA BR WO PO

DO bh BP HP HN HN KH DP HNO wm wR RR RE Re
CO aI DB NA HBP WO NO KH DOD OO Dn HD A FB WW YH YK O&O

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 14o0f 40 Page ID #:22

effect of management of our industrial enterprises and other organizations of public
concern.” Jd. Thus, the Court determined that “we believe that if the Legislature
intended to place all supervisory employees in California in such a conflict of interest, the
Legislature would have done so.... Jd.; accord Garza v. BNSF, Co., 2012 WL
2118179 at *4 (E.D. Cal. June 11, 2012) (““FEHA does. not allow for individual liability
for discriminatory acts. Further, under Title VII, civil liability for employment
discrimination does not extend to individual agents of the employer who committed the
violations, even if that agent is a supervisory employee”) (citing Pink v. Modoc Indian
Health Project, Inc., 157 F.3d 1185, 1189 (9th Cir. 1998)); Lavery-Petrash y. Sierra
Nevada Memorial Hosp., 2011 WL 6302933, at *2 (E.D. Cal. Dec. 13, 2011) (dismissing

FEHA claims against individual defendants, with prejudice, as “any amendment would

be futile since “individuals who do not themselves qualify as employers may not be sued
under the FEHA for alleged discriminatory acts””) (citing Reno, 18 Cal. 4th at 663);
Wong v. Thomson Reuters (Markets) LLC, 2011 WL 2912900, at *5 (N.D. Cal. Jul. 20,
2011) (dismissing harassment claims against individuals based on conduct within their
“delegable authority and [that] may therefore only serve as a basis of a claim for
discrimination against the employer”); Leland v. City & County of San Francisco, 576 F.
Supp. 2d 1079, 1088 (N.D. Cal. 2008) (“under FEHA, no individual liability attaches for
claims of discrimination”).

b. Erickson, Robinson And Hammond Are “Sham”

Defendants Because Plaintiff Cannot Maintain A Separate

Cause Of Action For “Failure To Take Steps To Prevent
Harassment And Discrimination”

36. Plaintiffs Seventh Cause of Action against the individual defendants is for
“Failure to Investigate and Prevent Harassment/ Discrimination,” but there can be no
separate claim for “failure to investigate,” “failure to prevent,” or “failure to take steps to
prevent” discrimination or harassment. Plaintiff alleges this claim pursuant to the FEHA,
Cal. Gov’t Code § 12940(k), (Compl., 4 54), but as California’s Fair Employment and

Housing Commission (“FEHC”) has made clear, there is no “private cause of action for
13

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

wo WN HN HN HN WH HN BP NOR Re mR RR RE ee
CONDO MN BP WO NYO KF CO HO WAnAN DA BP WO NH KF O&O

Oo Oe I DBO FB WO HNO

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 15 of 40 Page ID #:23

an independent [section 12940](k) violation . . . [as] the prosecution of an independent
(k) violation [is] exclusively the province of the DFEH.” Defendants’ Request For
Judicial Notice, Ex. A (DFEH v. Lyddan Law Group, Case No. E-200607-A-1082-00-rs
(2010)), at 2.

37. While Plaintiffs Seventh Cause of Action is for “Failure to Investigate and
Prevent Harassment/ Discrimination,” Plaintiff has already pled a separate claim for
“Discrimination and Failure to Prevent Discrimination” in his Second Cause of Action
and a separate claim for “Harassment” in his Third Cause of Action. By including the
“failure to take steps to prevent” claim, Plaintiff is essentially asking the Court to create
two separate claims for each underlying statutory tort, one for the actual statutory
violation and one for failing to prevent the statutory violation.

38. Trujillo v. North County Transit District, 63 Cal. App. 4th 280 (1998), is
directly on point. The Trujillo court concluded that there is no separate claim for failure
to investigate, prevent, or take steps to prevent discrimination, apart from a claim of
actual discriminatory conduct. Trujillo, 64 Cal. App. 4th at 288-89. In affirming the

defendants’ motion for judgment notwithstanding the verdict, the court explained:

Plaintiffs are asking us to rule that defendants owed them,
specifically, a legal duty of care to take all reasonable steps
necessary to prevent discrimination and harassment from

occurring, and that a breach of such duty should give rise to a
private right of action for damages.

However, plaintiffs have not suggested any persuasive
reasoning or authority to support their position. We do not
believe the statutory language supports recovery on such a
private right of action where there has been a specific

actual finding that no such discrimination or harassment
actually occurred at the plaintiffs’ workplace.

Id, (emphasis added). The court added that it is difficult to imagine how there could be
separate liability for a “failure to investigate or prevent discrimination,” absent a finding

of discriminatory conduct:

Also, there is a significant question of how there could be a
legal causation of any damages (either compensatory or |
punitive) from such a statutory violation, where the only jury

14

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo mH IN HD ”A BP W YH

NO PO HO NH HN KN DD Dw Rr ee
CO ~~ DN mW BP WY NYO KY OD ODO DAN DB A BP W NY KF O&O

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 16o0f40 Page ID#:24 ©

finding was the failure to prevent actionable harassment or
discrimination, which, however, did not occur.

Id. at 289. Accord Thompson v. City of Monrovia, 186 Cal. App. 4th 860, 880 (2010)
(“{[B]ecause the [FEHA] statute does not create [such] a stand-alone tort, the
employee has no cause of action for failure to investigate . . . .”) (emphasis added);
Scotch v. Art Inst. of California-Orange County, Inc., 173 Cal. App. 4th 986, 1021 (2009)
(“Employers should not be held liable to employees for failure to take necessary steps to
prevent such conduct.”). As such, no defendant can be liable to Plaintiff on his Seventh
Cause of Action.

39. To the extent such a claim exists, the claim would in any event fail against
the individual defendants for an additional reason. As explained above, the individual.
defendants cannot be liable for discriminatory acts because such acts are “personnel
management actions,” for which there is no individual liability. Janken v. GM Hughes
Elecs., 46 Cal. App. 4th 55, 62 (1996). By the same logic, the individual defendants
cannot be liable for any failure to prevent or investigate because the steps any individual
defendant would take to prevent or investigate discrimination or harassment in the
workplace also require “personnel management actions.” For example, under Plaintiff’s
logic, any supervisor who is offered a job by an employer would assume the burden of--
and potential liability associated with--ensuring there is no workplace discrimination or
harassment. This would require the individual supervisor to create and post workplace
postings, provide an effective complaint mechanism, or provide training on these issues."

40. FEHA does not create that absurd result. “[I]t was not the intent of the
Legislature to place individual supervisory employees at risk of personal liability for
personnel management decisions.” Janken, 46 Cal. App. 4th at 62; Reno, 18 Cal. 4th at

663 (addressing “whether all supervisors should be subjected to the ever-present threat of

* The only way for an employer to prevent discrimination or harassment is by making
personnel-management decisions. Whether this is done through policy, postings,
compensation procedures, discipline, or training, all steps would be personnel-

management decisions.
15

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION |

Oo Om NI DB Wn BP W NO

wo pO HN HH HN HKD HYD HN HN HR = FF KF EF Se S| Se
oN KN OH BPW NY KH DOD OO AN DN BP WY HN KF OO

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 17 of 40 Page ID #:25

a lawsuit each time they make a personnel decision” and concluding that “by limiting the
threat of lawsuits to the employer itself... the Legislature has drawn a balance
between the goals of eliminating discrimination in the workplace and minimizing
the debilitating burden of litigation on individuals”) (emphasis added). Just as the
individual defendants cannot be liable for personnel decisions that would prevent
discrimination or harassment, they also cannot be liable for personnel decisions that fail _

to prevent discrimination or harassment.

c. Erickson, Robinson And Hammond Are “Sham”
Defendants As The Defamation Claim Against Them Is
Based Solely On Inactionable Statements Regarding An
Employee’s Work Performance

41. Plaintiff bases his Tenth Cause of Action for “Defamation” on vague
statements allegedly made by Erickson in his managerial role. Specifically, Plaintiff
alleges that Erickson “published false, misleading and derogatory statements about
Plaintiff and Plaintiff?s work performance.” (Compl., { 67 (emphasis added).)
Plaintiff also alleges that Robinson made comments “to other employees of BP.”
(Compl., § 68 (emphasis added).) Besides Erickson and Robinson, the other Individual
Defendants allegedly “re-published same.” (Compl., § 69.) In sum, Plaintiff complains
about (i) his co-workers’ comments (ii) regarding his work performance (iii) at the
workplace.

42. It is well-settled, however, that statements relating to a plaintiff's job
performance cannot form the basis of a defamation claim, as a matter of law, because
such statements are privileged. As explained by the California Court of Appeal in
Cuenca v. Safeway San Francisco Employees Fed. Credit Union, 180 Cal. App. 3d 985,
995 (1986), California Civil Code section 47(c) “squarely” protects employees from

liability for making statements relating to the conduct of a coworker:

-Communications made in a commercial setting relating to the
conduct of an employee have been held to fall squarely within
the qualified privilege for communications to interested
persons.

16

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo ON DB WA BP WO NO —

10

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 18 of 40 Page ID #:26

Id. (holding that statements that the plaintiff was “receiving kickbacks, incorrectly
reporting his expenses and keeping irregular office hours” were privileged because they
made internally within the company and were “directly relevant to plaintiffs fitness as
manager.”) (emphasis added).°

43. Moreover, California courts have consistently held that statements regarding
an employee’s work performance constitute inactionable opinions that cannot form the
basis of a defamation claim. See, e.g., Gould v. Maryland Sound Indus., Inc., 31 Cal.
App. 4th 1137, 1154 (1995) (holding that performance evaluation accusing employee of

poor performance failed to constitute slander, as a matter of law, because it was

inactionable opinion); Jensen v. Hewlett-Packard Co., 14 Cal. App. 4th 958, 970-972
(1993) (holding that the employee’s defamation claim based on statements made in
performance evaluation failed as a matter of law because such statements were
inactionable opinions). .

The decision in Jensen, 14 Cal. App. 4th at 970-972, expressly bars defamation
claims based on statements relating to job performance. In Jensen, the plaintiff received
performance evaluations stating that he needed to “carry his weight,” “lacked direction”
and was “unwilling to take responsibility” for projects assigned to him. Jd. at 966. The
Court of Appeal affirmed that such statements about the plaintiff could not be deemed

statements of fact, a required element to sustain a claim for defamation:

[C]ould any of the comments in [the] evaluation reasonably be
interpreted as false statements of fact? No.... The
communication was... [an] evaluation of [the employee sI
performance, prepared [by the supervisor] in the course of his
designated duties as [the employee’s] manager. It was one of a
series of evaluations, less favorable than those that preceded or
followed it. It documented one manager’s assessment of [the

> Accord King v. United Parcel Serv., Inc., 152. Cal. App. 4th 426, 440-441 (2007)
(holding that the employers statements about the reasons for the plaintiffs termination,
including that he violated the com anys integrity policy, were privileged pursuant to
California Civil Code section 47(¢)): Williams v, Taylor, 129 Cal. App. 3d 745, 750
(1982) (holding that statements accusing the plaintiff of questionable workplace conduct
were privileged under section 47(c)); Deaile v, Gen. Telephone Co. of Cal., 40 Cal. App.
3d 841, 846-847 (1974) (holding that the employer’s statements that the plaintiff was
terminated for falsifying her work injury were privileged under section 47(c)).

17

. NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

So OND Dn A BP WY NY —

tO ho bo bo bo bo no No bo bs — a — e ~— — — et —
oOo NT DH UM BW NO YK OD ODO Hn DB HH BP WD NY KF OO

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 19o0f 40 Page ID #:27

employee’s] work habits, interpersonal skills and level of effort,
and it outlined the employer’s expectations with regard to
[employee] improvement....

[E]ven if the comments were objectively unjustified or made
in bad faith, they could not provide a legitimate basis for

[the employee’s| libel claim because they were statements of
opinion, not false statements of fact.

Jensen, 14 Cal. App. 4th at 970-71 (emphasis added).

44. Here, Plaintiff vaguely alleges that defamatory statements were made about
his “work performance” and that, as a result, he “has been harmed in his occupation.”
(Compl., § 62.) As in Jensen, 14 Cal. App. 4th at 970-971, Plaintiff essentially alleges
that he did not like or agree with his co-workers’ inactionable opinions. Because
Plaintiff's defamation claim is based entirely on statements relating to Plaintiffs job
performance, the claim is barred, as a matter of law.

45. The decision in Sheppard v. Freeman, 67 Cal. App. 4th 339, 346 (1998), is
dispositive. In Sheppard, the plaintiff sued for libel and interference with contract and
prospective economic advantage. Id. at 342. The California Court of Appeal squarely
addressed the issue of individual liability for supervisors and managers and explicitly
held that there can be no individual liability for supervisors and managers acting within

the scope of their employment, regardless of their personal motives:

Disposition of this appeal turns on our resolution of ... whether
an employee or former employee can sue other co-employees
individually based on their conduct relating to personnel
actions, e.g., termination, demotion, discipline, transfers,
compensation setting, work assignments, and/or performance
appraisals. We conclude that except where mandated by
statute, such actions are barred, whether or not the
employees are determined to have been acting within their
scope of employment and regardless of their personal
motives.

Id. at 343 (emphasis added).
46. In Sheppard, the Court also affirmed the trial court’s decision to sustain a

demurrer without leave to amend as to the individual defendants named by the plaintiff

18

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo A NIN Dn BW YN

bo ho bo bo bo bo Ww .v bo pe em _ — po me — —_ me ms
CON DN Om BW NYO KY CO HO DBAnAIN HD A BP WO NY KF OS

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 20 o0f 40 Page ID #:28

on the grounds that the individual defendants were merely making employment-related

decisions on behalf of the employer. /d. at 344. As the Court of Appeal stressed:

We do not decide merely whether individuals should be held
liable for their wrongdoing, but whether all supervisors should
be subjected to the ever-present threat of a lawsuit each time
they make a personnel decision.

Personnel actions are made for the benefit of the enterprise --
the employer, and it is the employer, and not the individual
employees, that must bear the risks and responsibilities
attendant to these actions.

Naturally, personnel actions are made with the input of
employees, both as part of their official duties and otherwise.
Without such input, the employer would be making decisions
and taking action in a vacuum, and indeed, effective |
management and operation of an enterprise to a significant
extent depends upon the free exchange of information,
concerns, and ideas of all employees. This can hardly occur
when the individual employees face the prospect of being sued
for this conduct.

Id. at 346.
47. As the Court in Sheppard further explained, individual supervisors or
managers should be protected from liability even if their conduct is alleged to be

personally motivated to benefit their own individual objectives:

It does indeed g0 without saying that an ... [employee] who is
in fact guilty of using his powers to vent his spleen upon others,
or for any other personal motive not connected with the public
good, should not escape liability for the injuries he may so
cause; and, if it were possible in practice to confine such
complaints to the guilty, it would be monstrous to deny
recovery.

The justification for doing so is that it is impossible to know

whether the claim is well founded until the case has been tried,

and that to submit all [employees], the innocent as well as the

guilty, to the burden of trial and to the inevitable danger of its

outcome, would dampen the ardor ofall but the most resolute,

or the most irresponsible, in unflinching discharge of their
uties.

Id. at 347 (citations omitted).
48. The Sheppard Court then explicitly held that: “an employee or former
employee cannot sue individual employees based on their conduct, including acts or

words relating to personnel actions.” /d. at 347 (emphasis added). Accord Aalgaard v.
19

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo Oe ND A BP W NY

DO pO NY HN WH HN KH KD Dw mR RR RE Ee
Oo nN KN OO BP WD NO KF CO CO Bens DB A BP WO NH YK OD

Case 8:12-cv-01493-JVS-RNB Document 1. Filed 09/07/12 Page 21 o0f 40 Page ID #:29

Merchants Nat’! Bank, Inc., 224 Cal. App. 3d 674, 684-86 (1990) (individual defendant
employee’s conduct was protected by the manager’s privilege), cert. denied, 502 U.S.
901 (1991); Becket v. Welton Becket & Assocs., 39 Cal. App. 3d 815, 823-24 (1974)
(demurrer sustained for claims against a corporate officer acting within course and scope
of employment on managerial immunity grounds); Marin v. Jacuzzi, 224 Cal. App. 2d
549 (1964) (demurrer sustained to claims against another employee on managerial
immunity grounds).

49. The facts alleged by Plaintiff in this case are strikingly similar to the facts in
the Sheppard decision. In Sheppard, the plaintiff alleged that his termination was
“caused by a conspiracy of false reporting by co-employees.” Sheppard, 67 Cal. App.
4th at 345. The plaintiff further alleged that the “false” statements causing his
termination were actionable as claims for libel against the individual supervisors making
the statements. Id.

In holding that the individual supervisors could not be held individually liable for
alleged defamatory statements, the California Court of Appeal held that individual
supervisors and managers must be allowed to make personnel-related comments and
decisions without suffering liability. Jd. In the words of the Court, “[a]llowing co-
workers to suffer liability would be anomalous under such circumstances.” Id.

50. Additionally, Plaintiff's Tenth Cause of Action for “Defamation” is also an
impermissible attempt to make an end-run around the California Supreme Court’s
decision in Foley v. Interactive Data Corp., 47 Cal. 3d 654 (1988), which specifically
barred such tort claims in the employment context, with the sole exception of a claim for
wrongful termination in violation of public policy. In Foley, the court held that contract
damages are the only available recovery in the employment context, absent a violation of

public policy. As the California Supreme Court stressed:

[Sleveral factors combine to persuade us that in the absence of
egislative direction to the contrary “contractual remedies

should remain the sole available relief... , [I]t is also
important that employers not be unduly deprived of discretion
20

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Case 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12 Page 22 of 40 Page ID #:30

oOo Aa nN DBD WA FP WD YN

bo bp bo bo bo nN nN bo No — — — me — — —_ — — me
oN DN OU FB WY NH KH CO DO Dn DA FW NY - O&O

to dismiss an employee by the fear that doing so will give rise
to potential tort recovery in every case.”

Id. at 696 (emphasis added).

Following this decision of the California Supreme Court, numerous cases have
similarly held that separate tort causes of action based on alleged conduct in the
workplace are unavailable. In Soules v. Cadam. Inc., 2 Cal. App. 4th 390 (1991),
disapproved on other grounds in Turner v. Anheuser-Busch, Inc., 7 Cal. 4th 1238 (1994),
the California Court of Appeal stated:

It has been held under Fole [tort] damages ... are not
recoverable .... “[W]e believe that focus on available contract
remedies offers the most appropriate method of expanding
available relief .... In short, an employee cannot maintain
additional tort theories against [an] employer based on the
same underlying facts.

Id, at 404 (emphasis added). In fact, the Court of Appeal expressly affirmed the trial
court’s decision to sustain a motion to dismiss, without leave to amend, as to a separate

tort causes of action for defamation, such as claims for libel and slander:

This policy [against tort claims} would be thwarted if plaintiff
were permitted to recover tort damages by affixing tort labels to
causes of action founded on defendant’s conduct [in the
employment relationship]. The following tort causes of action
[therefore] do not state a claim for relief... and judgment.
.. was properly entered in favor of defendants on those
causes of action: ... libel, slander....

Id. at 404 (citations omitted; emphasis added).® Asa result, the defamation cause of
action, based purely upon conduct relating to Plaintiff's employment, is barred by Foley
and numerous related cases, as an impermissible “backdoor” attempt to obtain tort
damages.

51. Based on the authorities cited above, Plaintiff's Tenth Cause of Action for

“Defamation” fails as it is based entirely on statements regarding his job performance and

° See also Hunter v. Up-Right, Inc., 6 Cal. 4th 1174, 1181 (1993) (“damages for
emotional distress are not recoverable in [an employment] action”); Summers v. City of
Cathedral City, 225 Cal. App. 3d 1047 (1990) (employee cannot recover tort damages
based upon alleged wrongful conduct by emp over).

21

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

NO NH BP HN PPD PD DD Bw i et
oN DB OH BR WY NY KH DO DBs DB nH BW NY KF CO

Oo mea NI DB WT HR WO NO

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 23 0f 40 Page ID #:31

inactionable opinion. Accordingly, there can be no viable defamation claim against

Defendants Erickson, Robinson and Hammond and they are “sham” defendants.

d. The Managerial Privilege Precludes Individual Liability
For Managers For Tort Claims Arising From the Course
And Scope Of Employment

52. Equally without merit are Plaintiffs claims for Intentional and Negligent
Infliction of Emotional Distress (i.e., the Eleventh and Twelfth Causes of Action). As
with Plaintiffs claim for defamation, an employee cannot be sued for emotional distress
for alleged managerial conduct. See, e.g., Smith v. Int’l Bhd. of Elect. Workers, Local
Union 11, 109 Cal. App. 4th 1637, 1658 (2003) (holding that claim for emotional distress
against manager failed, as a matter of law, because it was based on managerial conduct;
“because the emotional distress claims arise out of conduct for which [the individual
employee] cannot be held personally liable it follows he cannot be held liable for the
emotional distress claims either”); Janken, 46 Cal. App. 4th at 79-80 (reiterating that an
individual managerial employee cannot be liable for intentional infliction of emotional
distress for conduct committed within the employment relationship). Here, all of the
alleged conduct was done in the context of the employment relationship.

53. With respect to the emotional distress claims, Plaintiff incorporates the
work-related conduct alleged in connection with his other causes of action, including the
harassment and defamation claims discussed above. (Compl., § 73-74, 79-80.) Indeed,
Plaintiff concedes that this conduct is work-related, as he alleges he complained to human
resources and expected human resources to investigate. (Compl., {f 14, 17.) The only
purportedly “new” allegations to these claims are the assertions that Defendants continue
to fail to engage in the interactive process and that he was unlawfully “demoted and
placed in a position with a reporting time [that] was designed to make it difficult for
Plaintiff to confirm with the terms of his return to work,” (Compl., J 75, 81), but these
purported acts fall squarely within his general claims of discrimination and harassment
and are also work-related. Plaintiff concedes these and the other acts “were authorized,

condoned and/or ratified by Defendant BP.” (Compl., 4978, 84.)
22

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

0 wma DD A BW NYO —

DO NO HPO HN NY NY HN ND NO KR KH Ke =| Fe KF ROO Ee OS
Oo aT HWA A BP WW NO K& OD ODO Wns DB A FP W NO KF O&O

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 24 of 40 Page ID #:32

54. The California Court of Appeal’s decision in Janken, 46 Cal. App. Ath at 79-
80, is directly on-point. In Janken, as here, the employee attempted to state a claim for
intentional infliction of emotional distress based on allegations that the employer and its
manager engaged in discrimination. The Court held that these allegations failed to

support an intentional infliction of emotional distress claim:

Mana ing personnel is not outrageous conduct beyond the
bounds of human decency, but rather conduct essential to the
welfare and prosperity of society. A simple pleading of
personnel management activity is insufficient to support a
claim of intentional infliction of emotional distress, even if
improper motivation is alleged.

Id. at 80 (emphasis added). Accord Yurick v. Superior Court, 209 Cal. App. 3d 1116,
1127-1129 (1989) (holding that the plaintiffs supervisor’s “campaign” of discrimination
and harassment were not sufficiently outrageous and extreme to support intentional
infliction of emotional distress claim); King v. AC & R Advertising, 65 F.3d 764, 769-770
(9th Cir. 1994) (holding that discriminatory comments do not amount to extreme and
outrageous conduct necessary to support intentional infliction of emotional distress
claim).

55. As Plaintiff's allegations indicate, if true, the conduct of Defendants
Erickson, Robinson and Hammond that allegedly caused Plaintiff emotional distress
occurred within the course and scope of employment.

56. Under the doctrine of managerial privilege, individual managers cannot be
held personally liable for tort claims brought by other employees arising from actions
taken within the course and scope of their managerial capacity. See, e.g., McCabe v.
Gen. Foods Corp., 811 F.2d 1336, 1339 (9th Cir. 1987) (applying California law, court
held that plaintiffs tort claims against two individual managers failed, as a matter of law,
because “[the managers’ ] actions, according to the complaint, had been in their
managerial capacity ... [and] ratified by [their employer] .... [I]t is clear that ‘if an
agent is motivated in part by a desire to benefit his principle,’ his conduct is, under

California law, privileged”) (emphasis added). Accord Sheppard, 67 Cal. App. 4th at
23

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

own st HD On HP WY YP =

NO wpo NO NO NO ND DN HN CO Re Rr RRR RR RR RE OO Re
a NY WDB nH BP WO NO —|§ DOD OO DN DB A FBP WY NY K SC

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 25o0f 40 Page ID #:33

346-347 (“it is the employer, and not the individual employees, that must bear the risks
and responsibilities,” and a “former employee cannot sue individual employees based on
their conduct, including acts or words relating to personnel actions”); Aalgaard , 224 Cal.
App. 3d at, 684-686 (individual defendant employee’s conduct was protected from
liability by the manager’s privilege), cert. denied, 502 U.S. 901 (1991); Becket v. Welton
Becket & Assocs., 39 Cal. App. 3d 815, 823-24 (1974) (claims against officer dismissed
on managerial immunity grounds because the officer’s acts occurred within course and
scope of employment); Marin v. Jacuzzi, 224 Cal. App. 2d 549 (1964) (claims against
another employee dismissed on managerial immunity grounds).

57. Furthermore, as discussed above, there can be no individual liability for

supervisors and managers arising from personnel actions, regardless of their personal

|| motives. Sheppard, 67 Cal. App. 4th at 343 (“Disposition of this appeal turns on our _

resolution of .. . whether an employee or former employee can sue other co-employees
individually based on their conduct relating to personnel actions, e.g., termination,
demotion, discipline, transfers, compensation setting, work assignments, and/or
performance appraisals. We conclude that . . . such actions are barred, whether or not the
employers are determined to have been acting within their scope of employment and
regardless of their personal motives.”) (emphasis added). Thus, Plaintiff's allegations
that he was “placed in a position with a reporting time [that] was designed to make it
difficult for Plaintiff to conform with the terms of his work” and that the individual
Defendants engaged in conduct “with the intend [sic] to cause Plaintiff to suffer
humiliation, mental anguish and emotional distress” even if true, are not actionable.

58. Any argument by Plaintiff that his allegation that “at all times relevant, the
Individual Defendants were acting in their individual capacities as well as their capacities
as employees, agents, and officers of Defendant BP” (Compl., {] 7) somehow saves his
claims is a non-starter. By alleging that the conduct was motivated “in part” by the
Individual Defendants’ employment establishes that the doctrine of managerial immunity

applies. McCabe, 811 F.2d at 1339 (“[I]t is clear that if an advisor is motivated in part by
24

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Co OHI DO WO BP WY YH

DO bh PO PPO HN HN HD HN DNR RBs Re RE
Oo tT HD A BP WW HNO KF CO OO WA Dn” HBP WW WYN K—& O&O

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 26 of 40 Page ID #:34

a desire to benefit his principal, his conduct is, under California law, privileged.”).
Accord Kacludis v. GTE Sprints Commc’s Corp., 806 F. Supp. 866, 872 (N.D. Cal. 1992)
(applying California law, tort causes of action against another were barred; “absent
concrete and specific allegations that [another employee’s] actions were entirely for the
benefit of the individual [they are protected”) (emphasis in original); Aalgaard, 224 Cal.
App. 3d at 684-86 (individual defendant employees’ conduct was protected by
managerial immunity because the individual defendants were not acting solely to further
self interest), cert. denied, 502 U.S. 901 (1991).

59. Again, because Erickson, Robinson and Hammond’s alleged conduct is
limited to alleged managerial actions, Plaintiff's independent claims for intentional and
negligent emotional distress fail, as a matter of law. If Plaintiffs alleged emotional
distress is the result of unlawful discrimination and harassment, his recovery of emotional
distress damages will be available in connection with his myriad FEHA discrimination
claims.

60. Based on the authorities cited above, Plaintiff cannot pursue his Eleventh
and Twelfth Causes of Action against Defendants Erickson, Robinson and Hammond
because the allegations in the Complaint concede that the individual defendants were
acting solely within the scope and course of employment. Thus, Defendants Erickson,
Robinson and Hammond are “sham” defendants with respect to the Eleventh and Twelfth

Causes of Action.

e. Erickson, Robinson And Hammond Are Also “Sham”
Defendants Because Emotional Distress Claims In The
Employment Context Are Preempted By The Exclusive
Remedies Of The California Workers’ Compensation Act

61. Moreover, Defendants cannot be liable for Plaintiff's Eleventh and Twelfth
Causes of Action for Intentional and Negligent Infliction of Emotional Distress because
these claims are preempted by the California Workers’ Compensation Preemption Act,
Cal. Lab. Code § 3600 et seq. (the “WCA”). The WCA expressly provides that it is “the

sole and exclusive remedy for the employee” for all injuries “arising out of and in the
25

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

0 ON DB A BW YN

NO wo HN HO KH LP DP KN DR Rm eR
oOo NI ND WNW BP WW NO KK CO HO Bn DBD A FH WY NY KF OC

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 27 of 40 Page ID #:35

course of employment.” Cal. Lab. Code §§ 3600(a), 3602(a) (emphasis added).’ Where,

as here, alleged emotional distress is caused by the employment relationship, there can be
no separate or independent tort cause of action outside a claim for workers’ compensation
benefits.

62. Plaintiff alleges that he (1) did not like his supervisor’s allegedly derogatory
comments (Compl., J 13); (2) did not like the response he received from “Human
Resources” and the “Business Unit Leader” after reporting his supervisor’s conduct
(Compl., J 14); and (3) received “his first below standard” performance evaluation
(Compl., J 15). Plaintiff concedes that the conduct he complains of is “all directly related
to, and as a result of his medical condition and complaints to HR” at work. (Compl., {
16.)

- 63. Courts have routinely applied the workers’ compensation preemption
doctrine to prohibit claims of emotional distress arising from alleged discrimination at
work. See, e.g., Jones v. R.J. Donovan Correctional Facility, 152 Cal. App. 4th 1367,
1382 (2007) (“Even if the discriminatory conduct [the plaintiff] complained about ‘may
be characterized as intentional, unfair or outrageous, it is nevertheless covered by the
workers’ compensation exclusivity provisions.”) (emphasis added); Davaris v. Cubaleski,
12 Cal. App. 4th 1583, 1586-1588 (1993) (affirming dismissal of claims for negligent and
intentional infliction of emotional distress pursuant to California workers’ compensation
preemption even though the plaintiff alleged that she was discriminated against based on
her religion and disability, including being subjected to slurs, such as “Jewish dictator’),
Valenzuela v. State of Cal., 194 Cal. App. 3d 916, 922-923 (1987) (holding that

emotional distress claims were preempted by workers’ compensation even though the

’ The exclusivity provisions of the WCA expressly apply to all workplace injuries
“without regard to negligence.” Cal. Lab. Code § 3600(a). Thus, the same analysis that.
applies to Plaintiff's claims for Intentional Infliction of Emotional Distress applies
equally to his claim for Negligent Infliction of Emotional Distress. See Arendell v. Auto
Parts Club, Inc., 29 Cal. App. 4th 1261, 1264-65 (1994) (injuries due to employer

negligence are subject to WCA exclusivity.)

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

eo Oo nN DB Wn BP W NH

DO bo HN KH HN HN HN NY NYO HK | Be RP KR FF SF | KE Re
CO NN DN UO BP WO NY KH CO UO DWAmnHI DBA HF WY NY YF CO

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 28 of 40 Page ID #:36

distress arose out of the employer’s purported retaliatory and harassing conduct); Pichon
v. Pacific Gas & Elec. Co., 212 Cal. App. 3d 488, 496, modified, reh’g denied, 212 Cal.
App. 3d 1369 (1989) (emotional distress injuries caused by termination of employment
are compensable under the Workers’ Compensation Act, and thus claims for intentional
infliction of emotional distress are preempted).

64. In Cole v. Fair Oaks Fire Protect. Dist., 43 Cal. 3d 148 (1987), the
California Supreme Court held that the WCA bars emotional distress claims, such as
Plaintiff's, which arise from the employment relationship. In Cole, the plaintiff claimed
he suffered from emotional distress as a result of his supervisor’s “campaign of
harassment and job demotion” and, based on these allegations, filed a claim for
intentional infliction of emotional distress. /d. at 152.

The California Supreme Court rejected the plaintiff’s emotional distress claim

based on the exclusive remedy provision of the WCA, holding as follows:

An employee suffering emotional distress ... may not avoid
the exclusive remedy provisions of the [WCA] by
characterizing the employer’s decisions as manifestly
unfair, outrageous, harassment, or intended to cause
emotional disturbance ....

Id. at 160 (emphasis added).

65. Following the holding in Cole, the California Supreme Court has repeatedly
held in subsequent cases that emotional distress claims are barred by the exclusive
remedy provisions of the WCA. See, e.g., Livitsanos v. Superior Court, 2 Cal. 4th 744,
752 (1992) (“[T]he proposition that intentional or egregious conduct is necessarily
outside the scope of the workers’ compensation scheme is erroneous .... Even
intentional ‘misconduct’ may constitute a ‘normal part of the employment

relationship.’”).* In sum, “[e]ven if the discriminatory conduct [the plaintiff]

* Accord Shoemaker v. Myers, 52 Cal. 3d 1, 20 (1990) (affirming dismissal of emotional
distress cause of action premised upon plaintiff's status as a whistle-blower; “[I]f the
injuries did arise out of and in the course of employment, the exclusive remedy
provisions [of the WCA] apply notwithstanding that the injury resulted from the.
intentional conduct of the employer, and even though the employer’s conduct might be
characterized as egregious;” “Even if such conduct may be characterized as intentional,

27

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

—

0 mea ND Nn BP W WV

bo bo bho bo No bo bo ho No m od ht hd eo — _— et — et
Oo yD ND vA BP WO NYO KF OD OO WO DT DBA FP W NO KK OC

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 29 0f 40 Page ID #:37

complained about ‘may be characterized as intentional, unfair or outrageous, it is
nevertheless covered by the [WCA] exclusivity provisions.” Jones, 152 Cal. App. 4th
at 1382 (emphasis added).

66. Furthermore, the fact that Plaintiff has alleged harassment does not save his
claims from preemption. Courts have held that recovery for emotional distress claims
arising from personnel actions is limited to workers’ compensation, even when
intentional harassing conduct is alleged. See, e.g., Shoemaker, 52 Cal. 3d at 15-16
(“The kinds of conduct at issue (e.g., discipline or criticism) are a normal part of the
employment relationship. Even if such conduct may be characterized as intentional,
unfair or outrageous, it is nevertheless covered by the workers’ compensation exclusivity
provisions.”); Cole, 43 Cal. 3d at 160 (“[A]n employee suffering emotional distress
causing disability may not avoid the exclusive remedy provisions of the [Workers’
Compensation Act] by characterizing the employer’s decisions as manifestly unfair,
outrageous, harassment, or intended to cause emotional disturbance resulting in
disability.”); Jones, 152 Cal. App. 4th at 1382 (holding that a claim of infliction of
emotional distress based on alleged discrimination and harassment was void because
“elven if the discriminatory conduct [the plaintiff] complained about may be
characterized as intentional, unfair or outrageous, it is nevertheless covered by the
workers’ compensation exclusivity provisions”) (internal quotations and citations
omitted); Horn v. Bradco Int’l, Ltd., 232 Cal. App. 3d 653, 665 (1991) (“injuries
sustained and arising out of the course of employment are governed by the exclusive
remedy provisions of workers’ compensation, ... even though the employer’s conduct

might be characterized as egregious and ulteriorly motivated.”).

unfair or outrageous, it is nevertheless covered by the [WCA] exclusivity provisions.”);
Miklosy v. Regents of Univ. of Cal., 44 Cal. 4th 876, 902 (2008) (holding that a former-
employee plaintiff could not pursue an emotional distress cause of action because “[t]he
alleged wrongful conduct... occurred at the worksite, in the normal course of the
employer-employee relationship, and therefore [the WCA] is plaintiffs’ exclusive remedy
for any injury that may have resulted”).

28

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Co mH ND A BP WD YO

NO NO HO HO LH HN HN PD KN wm Re EE Ee RB Re
OO TI HD WA BP W HHO KF OD HO Wn DB NH BPW NY | OS

Case 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12 Page 30 of 40 Page ID #:38

67. Similarly, the fact that Plaintiff alleges claims for both intentional and
negligent infliction of emotional distress does not save his claims from preemption. The
exclusivity provisions of the WCA expressly apply to all workplace injuries “without
regard to negligence.” Cal. Lab. Code § 3600(a). Thus, Plaintiff cannot maintain claims
based upon alleged negligent conduct in the workplace. See Arendell v. Auto Parts Club,
Inc., 29 Cal. App. 4th 1261, 1264-65 (1994) (all injuries due to employer negligence are
subject to WCA exclusivity). Accord Coit Drapery Cleaners, Inc. v. Sequoia Ins. Co., 14
Cal. App. 4th 1595, 1606 (1993) (“[A]ny claim for mere negligence . .. would be barred .
.. by the [WCA], since [the plaintiff] was the employee of [defendant] and may not sue
for its allegedly negligent [conduct].”); Continental Casualty Co. v. Superior Court, 190
Cal. App. 3d 156, 162 (1987) (negligence claim barred by WCA exclusivity).

68. Plaintiff’s claim for “negligent” infliction of emotional distress fails for an
additional reason -- a claim for discrimination must be based on intentional misconduct.
See Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 143 (2000) (“the
ultimate burden of persuading the trier of fact that the defendant intentionally
discriminated against the plaintiff remains at all times with the plaintiff”) (citing Texas
Dep’t of Community Affairs v. Burdine, 450 U.S. 248, 253 (1981)).”

69. As Plaintiff's claims are preempted, it is undisputed that Erickson, Robinson
and Hammond are “sham” defendants, such that their citizenship should be disregarded
for determining diversity of citizenship jurisdiction.

D. Doe Defendants

70. Pursuant to 28 U.S.C. section 1441(a), the residence of fictitious and
unknown defendants should be disregarded for purposes of establishing removal

jurisdiction under 28 U.S.C. section 1332. See Fristos v. Reynolds Metals Co., 615 F.2d

> Accord Guz v. Bechtel Nat’l, Inc., 24 Cal. 4th 317, 356 (2000) (“the Ultimate burden of
persuasion on the issue of intentional discrimination remains with the plaintiff”)
(emphasis added). Muzquiz v. City of Emeryville, 79 Cal. App. 4th 1106, 1117 (2000)
(“At all times, the burden of persuasion remains firmly on the employee to establish that

the employer intentionally discriminated against the employee.”) (emphasis added).
29

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo ee N HD A BP WY VY

bo bo bo Do bo bo hQ tO bo — — — — po, — — — — pe
Co ~l ON Wn & ww NO ke © \O oO ~~] nN N b Go NO _ ©

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 31 o0f 40 Page ID #:39

1209, 1213 (9th Cir. 1980) (unnamed defendants are not required to join in a removal
petition). Thus, the existence of Doe defendants in this case does not deprive this Court
of jurisdiction.

E. Amount In Controversy

71. While Defendants deny any liability as to Plaintiffs claims, the amount in
controversy requirement is satisfied because “it is more likely than not” that the amount
exceeds the jurisdictional minimum of $75,000. See Sanchez v. Monumental Life Ins., 95
F.3d 856, 862 (9th Cir. 1996) (“defendant must provide evidence establishing that it is
‘more likely than not’ that the amount in controversy exceeds [the threshold] amount”).
As explained by the Ninth Circuit, “the amount-in-controversy inquiry in the removal
context is not confined to the face of the complaint.” Valdez v. Allstate Ins. Co., 372 F.3d
1115, 1117 (9th Cir. 2004) (finding that the Court may consider facts presented in the
removal petition).

72. In determining whether a Complaint meets the $75,000 threshold of 28
U.S.C. Section 1332(a), a court may consider the aggregate value of claims for
compensatory and punitive damages, as well as attorneys’ fees. See, e.g., Bell v.
Preferred Life Ass. Soc’y, 320 U.S. 238, 240 (1943) (“[w]here both actual and punitive
damages are recoverable under a complaint each must be considered to the extent
claimed in determining jurisdictional amount.”) (footnote omitted); Goldberg v. CPC
Int’l, Inc., 678 F.2d 1365, 1367 (9th Cir.) cert. denied, 459 U.S. 945 (1982) (attorneys’
fees may be taken into account to determine jurisdictional amount).

73. Based on the nature of the allegations and the damages sought, Plaintiff has
placed in controversy an amount exceeding $75,000, exclusive of costs and interest.
Specifically, Plaintiff seeks to recover past and future lost earnings, medical expenses,
emotional distress damages, punitive damages and unpaid wages and penalties. (Compl.,
qT] 21, 29, 33-34, 38-39, 44-45, 49-50, 55-56, 61, 65, 71-72, 77-78, 84-84; see also pp.

20:27-24:9.) Plaintiff also seeks attorneys’ fees in connection with his claims under

30

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

_—

Oo ON DWH nH HBR WD WD

10

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 32 of 40 Page ID #:40

FEHA, Cal. Gov’t Code section 12965(b), and the California Labor Code for an alleged
failure to pay overtime. (/d., pp. 20:27-24:9.)

74. Lost Wages. As for Plaintiffs lost wages, during his entire period of
employment his annual salary was always $ 90,000 or more. (Fisher Decl., §] 8; McCoy
Decl., 9 4.) Plaintiff's alleged lost wages from the date he alleges he went on stress ~
leave, April 11, 2011, through the date of judgment (assuming judgment is entered one
year from the date of the filing of this lawsuit), based on his lowest annual salary totals
approximately $225,600. See Cal. Gov’t Code §§ 12965, 12970 (lost wages is calculated
through the date of judgment). (McCoy Decl., 45.) Thus, the amount in controversy is
met based on Plaintiff's claim for lost wages alone.

75. Overtime. Plaintiff also claims that he was purportedly “misclassified” as
an exempt executive employee and, thus, seeks overtime pay. In particular, Plaintiff
alleges that he does not supervise employees, is not involved in the hiring or firing of
employees, and does not evaluate employees, such that he should receive overtime pay
for any work over eight hours in a day or 40 hours in a week. (Compl., §58.) Assuming
that Plaintiff worked 5 hours of overtime a week for the three year statutory period
(which Defendants deny) at an annual salary of $90,000, this amount equals $50,625 ($45
(hourly rate) X 1.5 (overtime premium) X 5 (hours of overtime per week) X 50
(workweeks in a year) X 3 (number of years of overtime Plaintiff will argue he can
recover)). (McCoy Decl., 46.)

76. Penalties. In connection with Plaintiffs overtime claim, he also seeks —
penalties for allegedly inaccurate wage statements. According to Plaintiff's

methodology, the potential recovery for these penalties is $50.00 for the first violation

and $100.00 per pay period for each subsequent violation of section 226, up to a

maximum of $4,000. (Compl., §65.) One year’s worth of these penalties easily reaches
the cap of $4,000 ($50.00 X ($100.00 X 49)), which is the amount Plaintiff will allege he
can recover. (McCoy Decl., § 7.)

31

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

—_—

0 ma nN ND A BW WN

10

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 33 0f 40 Page ID #:41

77. Thus, based on Plaintiffs alleged lost wages, unpaid overtime, and
penalties, Plaintiff’s potential recovery is $280,225. Adding Plaintiffs alleged emotional
distress, medical expenses, and punitive damages, there is no question that this amount
exceeds the $75,000 jurisdictional threshold for diversity jurisdiction. McCoy Decl., {
8.) .

78. Emotional Distress Damages. In addition to lost wages, Plaintiff claims
emotional distress damages. (Compl., {9 83-84.) While the details of Plaintiff's alleged
emotional distress damages are not pled in the Complaint, in cases alleging
discrimination, the emotional distress damages award alone often exceeds the $75,000
amount in controversy requirement. See, e.g., Elliott v. City of Gardena, 2001 WL
1255712 (Los Angeles County Superior Court, July 23, 2001) (the jury awarded the
plaintiff in a discrimination case $1,650,000 where the plaintiff's only claimed injury was
emotional distress damages); Comey v. County of Los Angeles, 2007 WL 3022474 (Los
Angeles County Superior Court, Aug. 15, 2007) (the jury awarded a plaintiff in a
discrimination case $768,286, of which $100,000 was for non-economic damages). See
also Conney v. University of California Regents, 2004 WL 1969934 (Los Angeles
County Superior Court, July 27, 2004) ($300,000 in past non-economic damages and
$600,000 in future non-economic damages awarded to plaintiff claiming discrimination
and retaliation). These awards demonstrate that, for diversity purposes, the value of
Plaintiff's claimed emotional distress damages exceeds the $75,000 amount in
controversy requirement on its own.

79. Punitive Damages. Plaintiff also seeks to recover punitive damages in a
sum to be determined at trial. (Compl., J§ 34, 39, 45, 50, 56, 72, 78, 84; see also pp.
20:27-24:9.) For amount in controversy purposes, the Court must conclude that Plaintiff
will prevail on his claim for punitive damages. See Richmond v. Allstate Ins. Co., 897 F.
Supp. 447, 449-50 (S.D. Cal. 1995) (amount in controversy includes potential recovery of
punitive damages award). An examination of jury awards shows that punitive damages

awards alone in discrimination cases often exceed the $75,000 amount in controversy
32

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo mH nAN BD UW BP WY NY

wo NO bP NO HN ND NN HN HD we wR
Oo DO NA B WW NO KK CO BO Wn DB OA BP WW NY HF CO

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 34 of 40 Page ID #:42

requirement. See Carter v. CB Richard Ellis, 2001 WL 34109371 (Orange County
Superior Court, Oct. 7, 2001) ($600,000 award of punitive damages in discrimination
case); Crangle v. Stanford Univ., 2000 WL 33800199 (N.D. Cal., Mar. 30, 2000)
(punitive damages award of $200,000 where sole remaining claim was for retaliation
based on making complaint of discrimination).

80. Attorneys Fees. Further, it is unimaginable that Plaintiff's counsel would
seek less than $75,000 in attorneys’ fees for a jury trial of the claims alleged in the
Complaint. If Plaintiffs counsel is seeking less than $75,000 in fees, Defendants invite
him to stipulate to this fact for purposes of this case.

81. Thus, itis more likely than not that Plaintiff's alleged damages consisting of
lost wages, unpaid overtime, emotional distress, medical expenses, and punitive damages,
as well as his claim for penalties and attorneys’ fees meet the $75,000 jurisdictional
threshold.

82. Total Jury Awards. Moreover, in the unlikely event that Plaintiff should
prevail at trial, numerous recent jury awards to plaintiffs in disability discrimination cases
have exceeded $75,000, See Landau v. County of Riverside, 2010 WL 1648442 (C.D.
Cal. 2010) (award of $1,033,500 to employee who brought action against employer based
disability discrimination and failure to accommodate); Dodd v. Haight Brown & |
Bonesteel LLP, 2010 WL 4845808 (L.A. County Superior Ct. 2010) (award of $410,520
to employee wrongfully terminated based on disability and medical condition); Ybarra v.
Dacor Holding Inc., 2010 WL 2404221 (L.A. County Superior Ct. 2010) (award of
$615,236 to employee in disability discrimination and wrongful termination action);
Malone v. Potter, 2010 WL 330252 (C.D. Cal. 2010) (award of $300,000 to employee in
disability discrimination and retaliation action); Morales v. Los Angeles County Metro.
Transp. Auth., 2008 WL 4488427 (L.A. County Superior Ct. 2008) (award of $2,247,137
to employee terminated due to disability); Ismen v. Beverly Hosp., 2008 WL 4056258
(L.A. County Sup. Ct.) (award of $1,180,164 in disability discrimination and failure to

accommodate action); Kolas v. Alticor Inc., 2008 WL 6040410 (L.A. County Superior Ct.
33

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo co ADT Ww Dr BPR WH NO KF

moO NO PO PO HO KO PVN KR ROR wm Re ee
ON DO ON BR WW NO KK ODO ODO DWn HD A BR WH NP || OC

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 35o0f 40 Page ID #:43

2008) (award of $600,000 to employee claiming disability discrimination); Vaughn v.
CNA Casualty of California, 2008 WL 4056256 (C.D. Cal. 2008) (award of $850,000 to
employee in disability discrimination action); Orue v. Sears, Roebuck & Co., 2007 WL
2456108 (L.A. County Superior Ct. 2007) (award of $173,056 to employee who brought
action based on disability discrimination).
V. VENUE

83. Without waiving Defendants’ right to challenge, among other things,
personal jurisdiction and/or venue by way of a motion or otherwise, venue lies in the _
Central District of California pursuant to 28 U.S.C. sections 1441(a), 1446(a), and 84(c).
This action originally was brought in the Superior Court of the State of California,
County of Orange, which is located within the Central District of the State of California.

84. Moreover, pursuant to California Government Code § 12965(b) venue is
proper in Los Angeles County pursuant to the mandatory special venue provisions of the
California Fair Employment and Housing Act (“FEHA”). Gov. Code § 12965(b) (“An
action may be brought in any county in the state in which the unlawful practices alleged
to have been committed, in the county in which the records relevant to the practice are

maintained and administered, or in the county in which the aggrieved person would have

worked or would have had access . . . but for the alleged unlawful practice... .”).
VI. SERVICE OF NOTICE OF REMOVAL ON PLAINTIFF AND THE CLERK
OF THE SUPERIOR COURT

85. Pursuant to 28 U.S.C. section 1446(d), written notice of the filing of this
Notice of Removal will be given promptly to Plaintiff and, together with a copy of the
Notice of Removal, will be filed with the Clerk of the Superior Court of the State of
California, County of Orange, in the State Court Action.

86. This Notice of Removal will be served on counsel for Plaintiff. A copy of
the Proof of Service regarding the Notice of Removal will be filed shortly after these

papers are filed and served.

34

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Oo fen HD Wn FBP WY NO

10

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 36 of 40 Page ID #:44

87. In compliance with 28 U.S.C. section 1446(a), true and correct copies of all
process, pleadings, and orders filed and/or served in this action are attached as Exhibit
“A” to the McCoy Decl.

VII. PRAYER FOR REMOVAL

88. WHEREFORE, Defendants pray that the State Court Action now pending in
the Superior Court of the State of California for the County of Orange, be removed to the
United States District Court for the Central District of California through the timely filing

of this Notice of Removal.

DATED: September 7, 2012 SEYFARTH SHAW LLP

By

Jon 10 “Meets

Casey J.T, McCoy

Simon L. Yang

Attorneys for Defendants

BP WEST COAST PRODUCTS LLC; BP
PRODUCTS NORTH AMERICA INC;
DALE ERICKSON; DAN ROBINSON; and
MARYCLAIRE HAMMOND

35

NOTICE OF REMOVAL OF CIVIL ACTION TO DISTRICT COURT PURSUANT TO DIVERSITY JURISDICTION

Gq

ase 8:12-cv-01493-JVS-RNB Document 1 Filed 09/07/12. Page 37 of 40 Page ID #:45

PROOF OF SERVICE
STATE OF CALIFORNIA )
) ss
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California. I am over the age of 18 and

not a party to the within action; my business address is: 333 S. Hope Street, Suite 3900, Los Angeles,
California 90071. September 7, 2012, I served the within documents:

DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES
DISTRICT COURT PURSUANT TO DIVERSITY OF CITIZENSHIP JURISDICTION [28
U.S.C. §§ 1332, 1441]

I sent such document from facsimile machine (213) 270-9601. I certify that said
transmission was completed and that all pages were received and that a report was generated
by facsimile machine (213) 270-9601 which confirms said transmission and receipt.

by placing the document(s) listed above in a sealed envelope with postage thereon fully
x prepaid, in the United States mail at Los Angeles, addressed as set forth below.

by personally delivering the document(s) listed above to the person(s) at the address(es) set
forth below.

by placing the document(s) listed above, together with an unsigned copy of this declaration,
in a sealed Federal Express envelope with postage paid on account and deposited with
Federal Express at Los Angeles, California, addressed as set forth below.

James T. Jackson, Esq.
Hope Erin Gray, Esq.
MERHAB ROBINSON & JACKSON Attorneys for Plaintiff
1551 North Tustin Avenue, Suite 910

Santa Ana, California 92705
jackson@mrjlaw.net
hgray@mrjlaw.net
Telephone: (714) 972-2333
Facsimile: (714) 972-2296

I am readily familiar with the firm’s practice of collection and processing correspondence for

mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
after the date of deposit for mailing in affidavit.

I declare under penalty of perjury under the laws of the State of California that the above is true

and correct.

Executed on September 7, 2012, at Los Angeles, California.
G Cpa Lerr— 9

Elsa Terre

Case 8:12-cv-01493-JVS-RNB Document1 Filed 09/07/12 Page 38 of 40 Page ID #:46

s

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge James V. Selna and the assigned
discovery Magistrate Judge is Robert N. Block.

The case number on all documents filed with the Court should read as follows:

SACV12- 1493 JVS (RNBx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

LJ Western Division LI Southern Division LI Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 8:12-cv-01493-JVS-RNB Docu ent 1 Filed 09/07/12 Page 39 of 40 Page ID #:47

CC PY

~R
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET
1 (a) PLAINTIFFS (Check box if you are representing yourself (7) DEFENDANTS

SCOTT TENNEY, an individual,

BP WEST COAST PRODUCTS, LLC, a Delaware Limited Liability
Company; BP PRODUCTS NORTH AMERICA, INC. a Maryland
corporation; DALE ERICKSON, an individual, DAN ROBINSON;
an individual; MARYCLAIRE HAMMOND, an individual; an@swars
DOES | - 50 inclusive,

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)
MERHAB ROBINSON & JACKSON
James T. Jackson (SBN 153587); Hope Erin Gray (SBN 275625)
155! North Tustin Avnue, Suite 910
Telephone: (714) 972-2333
Facsimile: (714) 972-2296

Attorneys (If Known)
SEYFARTH SHAW LLP
Jon D. Meer (SBN 144389); Casey J.T. McCoy (SBN 229106);
Simon L. Yang (SBN 260286)
2029 Century Park East, Suite 3500; Los Angeles, CA 90067 i |
Telephone: (310) 277-7200
Facsimile: (310) 201-5219 )

Il. BASIS OF JURISDICTION (Place an X in one box only.)

HI, CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

®

(1 US. Government Plaintiff [2] 3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party Citizen of This State t (0)1 Incorporated or Principal Place [4 D4
of Business in this State
(1) 2. U.S. Government Defendant 4 Diversity (Indicate Citizenship | Citizen of Another State (112 [£12 incorporated and Principal Place [15 EQS .
of Parties in Mem Il) of Business in Another State
Citizen or Subject of a Foreign Country [] 3 [3 Foreign Nation Cis C16

IV, ORIGIN (Place an X in one box only.)

(11 Original

{J 2 Removed from [7] 3 Remanded from (] 4 Reinstated or [7] 5 ‘Transferred from another district (specify): [7] 6 Multi-

(1) 7 Appeal to District

Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: [) ves §} No (Check ‘Yes! only if demanded in complaint.)
CLASS ACTION onder F.R.C.P. 23: [J Yes KE No

MONEY DEMANDED IN COMPLAINT: 8 Excess of 75,000.00

_ VL. CAUSE OF ACTION (Cite the U. S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statules unless diversity.)
28 U.S.C. §§ 1332, 1441, and 1446 (Diversity).

VEL NATURE OF SUIT. (Fince an nx in ane box ony)

FOR OFFICE USE ONLY:

Case Number:

OTHER STATUTES © [°° CONTRACT * “TORTS: PRISONER” "|" “LABOR

(2) 400 State Reapportionment [} 110 Insurance PERSONAL INJURY” oR 710 Fair Labor Standards

(410 Antitrust [] 120 Marine | 310 Airplane . 510 Motions to Vacate Act

(_) 430 Banks and Banking [_] 130 Milter Act _] 315 Airplane Product oO 370 Other Fraud Sentence Elabeas (3 720 Labor/Mgmt,

(2) 450 CommercesICC [7] 140 Negotiable Instrument Liability (_] 371 Truth in Lending Corpus Relations
Rates/etc, (_] 150 Recovery of [7] 320 Assault, Libel & |[[] 380 Other Personat {[-] 530 General [2 730 1abor/Memt.

(] 460 Deportation Overpayment & Slander Property Damage Ld 535 Death Penalty Reporting &

(1) 470 Racketeer fifluenced Enforcement of [] 330 Ped, Fimployers" _] 385 Property Damage B 540 Mandatnus/ Disclosure Act
and Corrupt Judgment Liability ___ Product Liability Other [7] 740 Railway Labor Act
Organizations ([} 151 Medicare Act _] 340 Marine “BANKRUPTCY * [7] 550 Civil Rights (7) 790 Other Labor

(7) 480 Consumer Credit ["] 152 Recovery of Defaulted [_] 345 Marine Product [_] 22 Appeal 28 USC Cj 555 Prison Condition. Litigation

(1) 490 Cable/Sa TV Student Loan (Exel. Liability 158 "; FORFEITURE / (_} 791 Empl. Ret. Inc.

(L) 810 Selective Service Veterans) I 350 Motor Vehicle ([] 423 Withdrawal 28 -PENALTY . Sccurity Act

(1) 850 Securities/Commoditiess [] 153 Recovery of [335 Motor Vehicle | © USC 157. 7) G10 Agriculture PROPERTY RIGHTS
Exchange Overpayment of Product Liability CIVIL RIGHTS T_] 620 Other Food & [_} 820 Copyrights

(7) 875 Customer Challenge 12 Veteran's Benefits 2) 360 Other Pessonat = [Z) 441 Voting Drug [2] 830 Patent
USC 3410 ([] 160 Stockholders’ Suits Injury 442 Employment 7] 625 Drug Related _] 840 Trademark

(0) 890 Other Statutory Actions [L) 190 Omer Contract [2] 362 Personal Injury- |} 443 Housing/Acco- Seizure of “SOCIAL SECURITY

(-) 891 Agricultural Act [1] 195 Contract Product Med Malpractice numodations Property 21 USC |] 61 HIAC395N)

(J 892 Economic Stabilization Liability [2] 365 Personal Injury. (]444 Welfare 88h [862 (Black Lung (923)
Act L] 196 Franchise Product Liability [7] 445 American with |[] 630 Liquor Laws C) 863 pIwc/MIWWw

(71893 Environmental Matters |. REALPROPERTY {LJ 368 Asbestos Personal Disabilities [[] 640 R.R.& Truck 405(2))

(CJ 894 Fnergy Allocation Act [2] 210 Land Condemnation injury Product Fmployment —|[_] 650 Aisline Regs [7] 864 SSID Title XVI

(_] 895 Freedom of Info. Act [2] 220 Foreclosure IMMIGR ath ON 17) 446 American with [7] 660 Occupational [7] 865 RS1 (4058)

{} 900 Appeat of Fee Determi- {_] 230 Rent Lease & Fiectment “™ Disabilities - Safety ‘ealth FEDERAL TAX SUITS
nation Under Equal (_} 240 Torts to Land (2) 462 Naturalization —{ Other J] 690 Other. (CJ 870 Taxes (U.S. Plaintiff

Access to Justice =) 245 Tort Product Liability |p acy Ane leae . iC} 440 Rate Fin or Defendant) 6
‘onstituti State labeas Corpus. Third Parly
CO) 9s0 Gonstiutionalty of State|["} 290 All Other Real Property Alien Detainee ee 7609
(-] 465 Other Immigration
SACV12| 14939098 ANB —

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

CV-71 (05/08)
13992962v.]

.- -CIVIL.COVER SHEET

Page 1 of 2

American LegaiNet, inc.
www, Forms Workow.com

Case 8:12-cv-01493-JVS-RNB Document 1 _ Fil .
UNITED STATES DISTRICT COURT, CENTRAL, DISTRICT OF CALIFORNIA 2% [P #48

CIVIL COVER SHEET

VIIE(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? BX] No C) Yes
If yes, list case number(s):

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? Bd No [1] Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) [_] A. Arise from the same or closely related transactions, happenings, or events; or
[1 B. Call for determination of the same or substantially related or similar questions of law and fact; or
(1 c. For other reasons would entail substantial duplication of labor if heard by different judges; or
(J D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also is present.

IX, VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
[[]_ Check here if the government, its agencies or employees is a named plaintiff, If this box is checked, go to item (b).

County in this District:* California County outside of this District; State, if other than California, or Foreign Country

COUNTY OF ORANGE

(b) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH named defendant resides,
[-] Check here if the government, its agencies or employees is a named defendant, If this box is checked, go to item (c).

County in this District:* California County outside of this District; State, if other than California, or Foreign Country

MARYLAND AND ILLINOIS

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land inyolved.

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

COUNTY OF LOS ANGELES

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved

X. SIGNATURE OF ATTORNEY (OR PRO PER): QO Date September 7, 2012

Simon L. Yang )

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C, 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.
865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C, (g))
CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2

13992962v.1

American LegalNet, Inc.
www.FormsWorkflow.com

